          Case
 ~AO 100 (Rev. 7/93)3:18-cr-00757-BRM
                     Agreement to Forfeit Property   Document 18 Filed 06/19/18 Page 1 of 1 PageID: 211

                                    UNITED STATES DISTRICT COURT
                          for the                               DISTRICT                           New Jersey

        UNITED STATES OF AMERICA
                     V.                                                 AGREEMENT TO FORFEIT PROPERTY
               Steven B. Mell
                                                                        CASE                 18-7094
                        Defendant

  I/we, the undersigned, acknowledge pursuant to 18 U.S.C. §3142(c) (1) (B) (xi) in consideration of the release of the
defendant that I/we and my/our personal representatives jointly and severally agree to forfeit to the United States of America
the following property:
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  and there has been posted with the court the following indicia of my/our ownership of the property:


  I/we further declare under penalty of perjury that I am/we are the sole owner( s) of the property described above and that

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the property described above is not subject to any lien, encumbrance, or claim ofright or ownership except my/our own,
that imposed by this agreement, and those listed below:




  and that I/we will not alienate, further encumber, or otherwise willfully impair the value of my/our interest in the
  The conditions of this agreement are that the defendant                                        Steven B. Mell
                                                                                                       (Name)
  is to appear before this court and at such other places as the defendant may be required to appear, in accordance with
any and all orders and directions relating to the defendant's appearance in this case, including appearance for violation
of a condition of defendant's release as may be ordered or notified by this court or any other United States Court to
which the defendant may be held to answer or the cause transferred. The defendant is to abide by any judgment entered
in such matter by surrendering to serve any sentence imposed and obeying any order or direction in connection with
such judgment.
  It is agreed and understood that this is a continuing agreement (including any proceedings on appeal or review) which
shall continue until such time as the undersigned are exonerated.
  If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
agreement, then this agreement is to be void, but if the defendant fails to obey or perform any of these conditions, the
property described in this agreement shall immediately be forfeited to the United States. Forfeiture under this
agreement for any breach of its conditions may be declared by any United States District Court having cognizance of the
above entitled matter at the time of such breach, and if the property is forfeited and if the forfeiture is not set aside or
remitted, judgment may be entered upon motion in such United States District Court against each debtor jointly and
severally for forfeiture of the property together with interest and costs, and execution may be issued and the property
secured as provided by the Federal Rules of Criminal Procedure and any other laws of the United States of America.
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                                                                          (Place)

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  Obligor(s) - - - - - - - - - - - - - -                             Address-------------------
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                                                                                    -· ·          (Judicial Officer/Clerk)
  Approved:
